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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 JOSEPH MICHAEL DEVON ENGEL,                       )
                                                   )
                  Plaintiff,                       )
                                                   )
            v.                                     )      Case No. 4:20-CV-01832-SEP
                                                   )
 ERDCC, et al.,                                    )
                                                   )
                  Defendants.                      )

                                 MEMORANDUM AND ORDER

         This matter is before the Court upon its own motion. Self-represented Plaintiff filed this
prisoner civil rights action under 42 U.S.C. § 1983 on December 17, 2020. However, Plaintiff
neither paid the $400 court filing fee nor filed a motion to proceed in forma pauperis (or without
prepayment of fees or costs), along with a certified copy of his account statement. See 28 U.S.C.
§ 1915(a). As such, the Court will allow Plaintiff twenty-one (21) days to either pay the full
filing fee or file his motion to proceed in forma pauperis and account statement. His failure to
do so in a timely manner will result in a dismissal of this action, without prejudice.

         Accordingly,

         IT IS HEREBY ORDERED that the Clerk is directed to mail to Plaintiff a copy of the
motion to proceed in forma pauperis form for prisoners.

         IT IS FURTHER ORDERED that Plaintiff must either pay the $400 filing fee or
submit a motion to proceed in forma pauperis within twenty-one (21) days of the date of this
Order.

         IT IS FURTHER ORDERED that if Plaintiff files a motion to proceed in forma
pauperis, he must also file a certified copy of his prison account statement for the six-month
period preceding the filing of the complaint.
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       IT IS FINALLY ORDERED that if Plaintiff fails to comply with this Order, the Court
will dismiss this action without prejudice. If the case is dismissed for non-compliance with this
Order, the dismissal will not count as a “strike” under 28 U.S.C. § 1915(g).

       Dated this 30th day of December, 2020.




                                                 SARAH E. PITLYK
                                                 UNITED STATES DISTRICT JUDGE




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